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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 OMAR (NAFTALI) TRIPLETT,

                                   Petitioner,
                                                                      No. 20-CV-1064 (RA)
                              v.
                                                                             ORDER
 P. REARDON,


                                   Respondent.


RONNIE ABRAMS, United States District Judge:

        The Court is in receipt of Petitioner’s letter of October 8, 2020. See Dkt. 22. The Clerk of

Court is respectfully directed to amend the case caption, as above, to alter the spelling of the

Respondent. The Clerk of Court is further directed, in light of Petitioner’s pro se status and his

requests for copies of this Court’s rules, to mail Petitioner copies of the Court’s Special Rules &

Practices in Civil Pro Se Cases, as well as its Emergency Individual Rules & Practices in Light

of COVID-19. See Dkt. 19. The Clerk of Court is further directed to mail Petitioner a copy of

this order.

SO ORDERED.



 Dated:           October 20, 2020
                  New York, New York

                                                     ________________________________
                                                     Ronnie Abrams
                                                     United States District Judge
